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MEMORANDUM FOR:

FROM:

SUBJECT:

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U.S. Department of H¢)mcland Securir_v
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February 20, 2017

Kevin McAleenan
Acting Commissioner
U.S. Customs and Border Protection

Thomas D. Homan
Acting Director
U.S. Immigration and Customs Enforcernent

Lori Scialabba
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Acting Undersecretary for Management

John Kelly
Secretary

  

e President’s Border Security and
Immigration Enforcement Improvements Policies

This memorandum implements the Executive Order entitled “‘Border Security and
Imrnigration Enforcement Improvements,” issued by the President on January 25, 2017, which
establishes the President’s policy regarding effective border security and immigration
enforcement through faithful execution of the laws of the United States. It implements new
policies designed to stem illegal immigration and facilitate the detection, apprehension, detention,
and removal of aliens who have no lawful basis to enter or remain in the United States. It
constitutes guidance to all Department personnel, and Supersedes all existing conflicting policy,
directives, memoranda, and other guidance regarding this subject matter_to the extent of the
conflict_except as otherwise expressly stated in this memorandum.

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A. Policies Regarding the Apprehension and Detention of Aliens Described in Section
235 of the Immigration and Nationality Act.

The President has determined that the lawful detention of aliens arriving in the United
States and deemed inadmissible or otherwise described in section 235(1)) of the lmmigration and
Nationality Act (INA) pending a final determination of whether to order them removed, including
determining eligibility for immigration relief, is the most efficient means by which to enforce the
immigration laws at our borders Detention also prevents such aliens from committing crimes
while at large in the United States, ensures that aliens will appear for their removal proceedings,
and substantially increases the likelihood that aliens lawfully ordered removed will be removed.

These policies are consistent with [NA provisions that mandate detention of such aliens
and allow me or my designee to exercise discretionary parole authority pursuant to section
212(d)(5) of the INA only on a case-by-case basis, and only for urgent humanitarian reasons or
significant public benefit. Policies that facilitate the release of removable aliens apprehended at
and between the ports of entry, which allow them to abscond and fail to appear at their removal
hearings, undermine the border security mission. Such policies, collectively referred to as “catch-
and-release,” shall end.

Accordingly, effective upon my determination of (l) the establishment and deployment of
a joint plan with the Department of Justice to surge the deployment of immigration judges and
asylum officers to interview and adjudicate claims asserted by recent border entrants; and, (2) the
establishment of appropriate processing and detention facilities, U.S. Customs and Border
Protection (CBP) and U.S. lmmigration and Customs Enforcement (ICE) personnel should only
release from detention an alien detained pursuant to section 235(b) of the INA, who was
apprehended or encountered after illegally entering or attempting to illegally enter the United
States, in the following situations on a case-by-case basis, to the extent consistent with applicable
statutes and regulations:

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When removing the alien from the United States pursuant to statute or regulation;

When the alien obtains an order granting relief or protection from removal or the
Department of Homeland Security (DHS) determines that the individual is a U.S.
citizen, national of the United States, or an alien who is a lawful permanent
resident, refugee, asylee, holds temporary protected status, or holds a valid
immigration status in the United States;

When an ICE Field Office Director, ICE Special Agent-in-Charge, U.S. Border
Patrol Sector Chief, CBP Director of Field Operations, or CBP Air & Marine
Operations Director consents to the alien’s withdrawal of an application for
admission, and the alien contemporaneously departs from the United States;

When required to do so by statute_, or to comply with a binding settlement
agreement or order issued by a competent judicial or administrative authority;

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5. When an ICE Field Office Director, ICE Special Agent-in-Charge, U.S. Border
Patrol Sector Chief, CBP Director of Field Operations, or CBP Air & Marine
Operations Director authorizes the alien’s parole pursuant to section 212(d)(5) of
the INA with the written concurrence of the Deputy Director of ICE or the Deputy
Commissioner of CBP, except in exigent circumstances such as medical
emergencies where seeking prior approval is not practicable ln those exceptional
instances, any such parole will be reported to the Deputy Director or Deputy
Commissioner as expeditiously as possible; or

6. When an arriving alien processed under the expedited removal provisions of
section 235(b) has been found to have established a “credible fear” of persecution
or torture by an asylum officer or an immigration judge, provided that such an
alien affirmatively establishes to the satisfaction of an ICE immigration officer his
or her identity, that he or she presents neither a security risk nor a risk of
absconding, and provided that he or she agrees to comply with any additional
conditions of release imposed by ICE to ensure public safety and appearance at any
removal hearings

To the extent current regulations are inconsistent with this guidance, components will
develop or revise regulations as appropriate Until such regulations are revised or removed,
Department officials shall continue to operate according to regulations currently in place.

As the Department works to expand detention capabilities, detention of all such
individuals may not be immediately possible, and detention resources should be prioritized based
upon potential danger and risk of flight if an individual alien is not detained, and parole
determinations will be made in accordance with current regulations and guidance See 8 C.F.R. §§
212.5, 235.3. This guidance does not prohibit the return of an alien who is arriving on land to the
foreign territory contiguous to the United States from which the alien is arriving pending a
removal proceeding under section 240 of the INA consistent with the direction of an ICE Field
Offrce Director, ICE Special Agent-in-Charge, CBP Chief Patrol Agent, or CBP Director of Field
Operations.

B. Hiring More CBP Agents/()fficers

CBP has insufficient agents/officers to effectively detect, track, and apprehend all aliens
illegally entering the United States. The United States needs additional agents and officers to
ensure complete operational control of the border. Accordingly, the Commissioner of CBP
shall#while ensuring consistency in training and Standards_immediately begin the process of
hiring 5,()00 additional Border Patrol agents, as well as 500 Air & Marine Agents/Officers,
subject to the availability of resources, and take all actions necessary to ensure that such
agents/officers enter on duty and are assigned to appropriate duty stations, including providing for
the attendant resources and additional personnel necessary to support such agents, as soon as
practicable

Human Capital leadership in CBP and ICE, in coordination with the Under Secretary for
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Management, Chief Financial Officer, and Chief Human Capital Officer, shall develop hiring
plans that balance growth and interagency attrition by integrating workforce shaping and career
paths for incumbents and new hires.

C. Identifying and Quantifying Sources of Aid to Mexico

The President has directed the heads of all executive departments to identify and quantify
all sources of direct and indirect Federal aid or assistance to the Government of Mexico.
Accordingly, the Under Secretary for Management shall identify all sources of direct or indirect
aid and assistance, excluding intelligence activities, from every departmental component to the
Government of Mexico on an annual basis, for the last five fiscal years, and quantify such aid or
assistance The Under Secretary for Management shall submit a report to me reflecting historic
levels of such aid or assistance provided annually within 30 days of the date of this memorandum

D. Expansion of the 287(g) Program in the Border Region

Section 287(g) of the INA authorizes me to enter into a written agreement with a state or
political subdivision thereof, for the purpose of authorizing qualified officers or employees of the
state or subdivision to perform the functions of an immigration officer in relation to the
investigation, apprehension, or detention of aliens in the United States. This grant of authority,
known as the 287(g) Program, has been a highly successful force multiplier that authorizes state
or local law enforcement personnel to perform all law enforcement functions specified in section
287(a) of the INA, including the authority to investigate, identify, apprehend, arrest, detain,
transport and conduct searches of an alien for the purposes of enforcing the immigration laws.
From January 2006 through September 2015, the 287(g) Program led to the identification of more
than 402,000 removable aliens, primarily through encounters at local jails.

Empowering state and local law enforcement agencies to assist in the enforcement of
federal immigration law is critical to an effective enforcement strategy. Aliens who engage in
criminal conduct are priorities for arrest and removal and will often be encountered by state and
local law enforcement officers during the course of their routine duties. It is in the interest of the
Department to partner with those state and local jurisdictions through 287(g) agreements to assist
in the arrest and removal of criminal aliens.

To maximize participation by state and local jurisdictions in the enforcement of federal
immigration law near the southern border, l am directing the Director of ICE and the
Commissioner of CBP to engage immediately with all willing and qualified law enforcement

jurisdictions that meet all program requirements for the purpose of entering into agreements under
287(g) of the INA.

The Commissioner of CBP and the Director of ICE should consider the operational
functions and capabilities of the jurisdictions willing to enter into 287(g) agreements and structure
such agreements in a manner that employs the most effective enforcement model for that
jurisdiction, including the jail enforcement model, task force officer model, or joint jail
enforcement-task force officer model. In iintherance of my direction herein, the Commissioner of

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CBP is authorized, in addition to the Director of ICE, to accept state services and take other
actions as appropriate to carry out immigration enforcement pursuant to 287(g).

E. Commissioning a Comprehensive Study of Border Security

The Under Secretary for Management, in consultation with the Commissioner of CBP,
Joint Task Force (Border), and Commandant of the Coast Guard, is directed to commission an _
immediate, comprehensive study of the security of the southern border (air, land and maritime) to
identify vulnerabilities and provide recommendations to enhance border security. The study
should include all aspects of the current border security environment, including the availability of
federal and state resources to develop and implement an effective border security strategy that
will achieve complete operational control of the border.

F. Border Wall Construction and Funding

A wall along the southern border is necessary to deter and prevent the illegal entry of
aliens and is a critical component of the Prcsident’s overall border security strategy. Congress has
authorized the construction of physical barriers and roads at the border to prevent illegal
immigration in several statutory provisions, including section 102 of the Illegal Immigration
Reform and Immigrant Responsibility Act of 1996, as amended, 8 U.S.C. § l 103 note.

Consistent with the President"s Executive Order, the Will of Congress and the need to
secure the border in the national interest, CBP, in consultation with the appropriate executive
departments and agencies, and nongovernmental entities having relevant expertise_and using
materials originating in the United States to the maximum extent permitted by law_shall
immediately begin planning, design, construction and maintenance of a wall, including the
attendant lighting, technology (including sensors), as well as patrol and access roads, along the
land border with Mexico in accordance with existing iaw, in the most appropriate locations and
utilizing appropriate materials and technology to most effectively achieve operational control of
the border.

The Under Secretary for Management, in consultation with the Commissioner of CBP
shall immediately identify and allocate all sources of available funding for the planning, design,
construction and maintenance of a wall, including the attendant lighting, technology (including
sensors), as well as patrol and access roads, and develop requirements for total ownership cost of
this project, including preparing Congressional budget requests for the current fiscal year (e.g.,
supplemental budget requests) and subsequent fiscal years.

G. Expanding Expedited Removal Pursuant to Section 235(b)(1)(A)(iii)(I) of the INA

lt is in the national interest to detain and expeditiously remove from the United States
aliens apprehended at the border, Who have been ordered removed after consideration and denial
of their claims for relief or protection Pursuant to section 23 5(b)(l)(A)(i) of the INA, if an
immigration officer determines that an arriving alien is inadmissible to the United States under

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section 212(a)(6)(C) or section 212(a)(7) of the INA_, the officer shall, consistent with all
applicable laws, order the alien removed from the United States without further hearing or review,
unless the alien is an unaccompanied alien child as defined in 6 U.S.C. § 279(g)(2), indicates an
intention to apply for asylum or a fear of persecution or torture or a fear of return to his or her
country, or claims to have a valid immigration status within the United States or to be a citizen or
national of the United States.

Pursuant to section 235(b)(1)(A)(iii)(l) of the INA and other provisions of law, I have
been granted the authority to apply, by designation in my sole and unreviewable discretion, the
expedited removal provisions in section 235(b)(l)(A)(i) and (ii) of the INA to aliens who have not
been admitted or paroled into the United States, who are inadmissible to the United States under
section 212(a)(6)(C) or section 2l2(a)(7) of the INA, and who have not affirmatively shown, to
the satisfaction of an immigration officer, that they have been continuously physically present in
the United States for the two-year period immediately prior to the determination of their
inadmissibility To date, this authority has only been exercised to designate for application of
expedited removal1 aliens encountered within 100 air miles of the border and 14 days of entry,
and aliens who arrived in the United States by sea other than at a port of entry.l

The surge of illegal immigration at the southern border has overwhelmed federal agencies
and resources and has created a significant national security vulnerability to the United States.
Thousands of aliens apprehended at the border, placed in removal proceedings, and released from
custody have absconded and failed to appear at their removal hearings Immigration courts are
experiencing a historic backlog of removal cases, primarily proceedings under section 240 of the
INA for individuals who are not currently detained

During October 2016 and November 2016, there were 46,184 and 47,215 apprehensions,
respectively, between ports of entry on our southern border. ln comparison, during 0ctober 2015
and November 2015 there were 32,724 and 32,838 apprehensions, respectively, between ports of
entry on our southern border. This increase of 10,000-15,000 apprehensions per month has
significantly strained DHS resources

Furthermore, according to EOIR information provided to DHS, there are more than
534,000 cases currently pending on immigration court dockets nationwide~a record high, By
contrast, according to some reports, there were nearly 168,000 cases pending at the end of fiscal
year (FY) 2004 when section 235(b)(1)(A)(i) was last expanded2 This represents an increase of
more than 200% in the number of cases pending completion The average removal case for an
alien who is not detained has been pending for more than two years before an immigration judge.3
In some immigration courts, aliens who are not detained will not have their cases heard by an

 

l Notice Designating Aliens Subject to Expedited Removal Under Section 235(b)( l )(a)(iii) of the Immigration and
Nationality Act, 67 Fed. Reg. 68924 (Nov. 13, 2002); Designating Aliens For Expedited Removal, 69 Fed. Reg.
4887’)' (Aug. l l, 2004); Eliminating Exception to Expedited Removal Authority for Cuban Nationals Encountered in
the United States or Arriving by Sea, 82 Fed. Reg. 4902 (Jan. l'/`, 2017).

3 Syracuse University, Transacrt`onal Records Access Clear:'nghouse (TRAC) Dara Research; available at
http:!/trac.syr.edu/phptools/immigration/court_backlog/.

3 Id.

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immigration judge for as long as five years. This unacceptable delay affords removable aliens
with no plausible claim for relief to remain unlawfully in the United States for many years.

To ensure the prompt removal of aliens apprehended soon after crossing the border
illegally, the Department will publish in the Federal Register a new Notice Designating Aliens
Subject to Expedited Removal Under Section 235(b)(l)(a)(iii) of the lmmigration and Nationality
Act, which may, to the extent I determine is appropriate, depart from the limitations set forth in
the designation currently in force. I direct the Commissioner of CBP and the Director of ICE to
conform the use of expedited removal procedures to the designations made in this notice upon its
publication

H. Irnplernenting the Provisions of Section 235(b)(2)(C) of the INA to Return Aliens to
Contiguous Countries

Section 235(b)(2)(C) of the INA authorizes the Department to'return aliens arriving on
land from a foreign territory contiguous to the United States, to the territory from which they
arrived, pending a formal removal proceeding under section 240 of the INA. When aliens so
apprehended do not pose a risk of a subsequent illegal entry or attempted illegal entry, returning
them to the foreign contiguous territory from which they arrived, pending the outcome of removal
proceedings saves the Department’s detention and adjudication resources for other priority aliens.

Accordingly, subject to the requirements of section 1232, Title 8, United States Code,
related to unaccompanied alien children and to the extent otherwise consistent with the law and
U.S. international treaty obligations, CBP and ICE personnel shall, to the extent appropriate and
reasonably practicable, return aliens described in section 235(b)(2)(A) of the INA, who are placed
in removal proceedings under section 240 of the lNA_and who, consistent with the guidance of
an ICE Field Office Director, CBP Chief Patrol Agent, or CBP Director of Field Operations, pose
no risk of recidivism_to the territory of the foreign contiguous country from which they arrived
pending such removal proceedings

To facilitate the completion of removal proceedings for aliens so returned to the
contiguous country, ICE Field Office Directors, ICE Special Agents-in-Charge, CBP Chief Patrol
Agent, and CBP Directors of Field Operations shall make available facilities for such aliens to
appear via video teleconferencel The Director of ICE and the Commissioner of CBP shall consult
with the Director of EOIR to establish a functional, interoperable video teleconference system to
ensure maximum capability to conduct video teleconference removal hearings for those aliens so
returned to the contiguous country.

I. Enhancing Asylum Referrals and Credible Fear Determinations Pursuant to Section
235(b)(1) of the INA

With certain exceptions, any alien who is physically present in the United States or who
arrives in the United States (whether or not at a designated port of arrival and including an alien
who is brought to the United States after having been interdicted in international or United States
waters), irrespective of such alien's status, may apply for asylum. For those aliens who are subject

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to expedited removal under section 235(b) of the INA, aliens who claim a fear of return must be
referred to an asylum officer tc determine whether they have established a credible fear of
persecution or torture.4 To establish a credible fear of persecution, an alien must demonstrate that
there is a “significant possibility” that the alien could establish eligibility for asylum, taking into
account the credibility of the statements made by the alien in support of the claim and such other
facts as are known to the officer.5

The Director of USCIS shall ensure that asylum officers conduct credible fear interviews
in a manner that allows the interviewing officer to elicit all relevant information from the alien as
is necessary to make a legally sufficient determination In determining whether the alien has
demonstrated a significant possibility that the alien could establish eligibility for asylum, or for
withholding or deferral of removal under the Convention Against Torture, the asylum officer shall
consider the statements of the alien and determine the credibility of the alien’s statements made in
support of his or her claim and shall consider other facts known to the officer, as required by
statute6

The asylum officer shall make a positive credible fear finding only after the officer has
considered all relevant evidence and determined, based on credible evidence, that the alien has a
significant possibility of establishing eligibility for asylum, or for withholding or deferral of
removal under the Convention Against Torture, based on established legal authority.7

The Director of USCIS shall also increase the operational capacity of the Fraud Detection
and National Security (FDNS) Directorate and continue to strengthen the integration of its
operations to support the Field Operations, Refugee, Asylum, and Intemational Operations, and
Service Center Operations Directorate, to detect and prevent fraud in the asylum and benefits
adjudication processes, and in consultation with the USCIS Office of Policy and Strategy as
operationally appropriate

The Director of USCIS, the Commissioner of CBP, and the Director of ICE shall review
fraud detection, deterrence, and prevention measures throughout their respective agencies and
provide me with a consolidated report within 90 days of the date of this memorandum regarding
fraud vulnerabilities in the asylum and benefits adjudication processes, and propose measures to
enhance fraud detection, deterrence, and prevention in these processesl

J. Allocation of Resources and Personnel to the Southern Border for Detention of
Aliens and Adjudication of Claims

The detention of aliens apprehended at the border is critical to the effective enforcement of
the immigration laws. Aliens who are released from custody pending a determination of their
removability are highly likely to abscond and fail to attend their removal hearings Moreover, the
screening of credible fear claims by USCIS and adjudication of asylum claims by EOIR at

 

4 see iNA §235(b)(1)(A)-(s); s c.F.R. §§ 235.3, 208.30_
5 Se€ INA § 235(|3)(1](13){\’).

6 See fd.

7 ld.

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detention facilities located at or near the point of apprehension will facilitate an expedited
resolution of those claims and result in lower detention and transportation costs.

Accordingly, the Director of ICE and the Commissioner of CBP should take all necessary
action and allocate all available resources to expand their detention capabilities and capacities at
or near the border with Mexico to the greatest extent practicable CBP shall focus these actions on
expansion of “short-term detention” (defined as 72 hours or less under 6 U.S.C. § 211(m))
capability, and ICE will focus these actions on expansion of all other detention capabilities CBP
and ICE should also explore options for joint temporary structures that meet appropriate standards
for detention given the length of stay in those facilitiesl

In addition, to the greatest extent practicable, the Director of USCIS is directed to increase
the number of asylum officers and FDNS officers assigned to detention facilities located at or near
the border with Mexico to properly and efficiently adjudicate credible fear and reasonable fear
claims and to counter asylum-related fraud.

K. Proper Use of Parole Authority Pursuant to Section 212(d)(5) of the INA

The authority to parole aliens into the United States is set forth in section 212{d)(5) of the
INA, which provides that the Secretary may, in his discretion and on a case-by-case basis,
temporarily parole into the United States any alien who is an applicant for admission for urgent
humanitarian reasons or significant public benefit The statutory language authorizes parole in
individual cases only where, after careful consideration of the circumstances, it is necessary
because of demonstrated urgent humanitarian reasons or significant public benefit In my
judgment, such authority should be exercised sparingly.

The practice of granting parole to certain aliens in pre-designated categories in order to
create immigration programs not established by Congress, has contributed to a border security
crisis, undermined the integrity of the immigration laws and the parole process, and created an
incentive for additional illegal immigration

Therefore, the Director of USCIS, the Commissioner of CBP, and the Director of ICE
shall ensure that, pending the issuance of final regulations clarifying the appropriate use of the
parole power, appropriate written policy guidance and training is provided to employees within
those agencies exercising parole authority, including advance parole, so that such employees are
familiar with the proper exercise of parole under section 212(d)(5) of the INA and exercise such
parole authority only on a case-by-case basis, consistent with the law and written policy guidance

Notwithstanding any other provision of this memorandum, pending my further review and
evaluation of the impact of operational changes to implement the Executive Order, and additional
guidance on the issue by the Director of ICE, the ICE policy directive establishing standards and
procedures for the parole of certain arriving aliens found to have a credible fear of persecution or

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torture shall remain in full force and effect8 The ICE policy directive shall be implemented in a
manner consistent with its plain language In every case, the burden to establish that his or her
release would neither pose a danger to the community, nor a risk of flight remains on the
individual alien, and ICE retains ultimate discretion whether it grants parole in a particular case.

L. Proper Processing and Treatment of Unaccompanied Alien Minors Encountered at
the Border

ln accordance with section 235 of the William Wilberforce Trafficking Victims Protection
Reauthorization Act of 2008 (codified in part at 8 U.S.C. § 1232) and section 462 of the
Homeland Security Act of 2002 (6 U.S.C. § 279), unaccompanied alien children are provided
special protections to ensure that they are properly processed and receive the appropriate care and
placement when they are encountered by an immigration officer. An unaccompanied alien child,
as defined in section 279(g)(2), Title 6, United States Code, is an alien who has no lawful
immigration status in the United States, has not attained 18 years of age; and with respect to
whom, (l) there is no parent or legal guardian in the United States, or (2) no parent of legal
guardian in the United States is available to provide care and physical custody.

Approximately 155,000 unaccompanied alien children have been apprehended at the
southern border in the last three years. Most of these minors are from El Salvador, Honduras, and
Guatemala, many of whom travel overland to the southern border with the assistance of a
smuggler who is paid several thousand dollars by one or both parents, who reside illegally in the
United States.

With limited exceptions, upon apprehension, CBP or ICE must promptly determine if a
child meets the definition of an "‘unaccompanied alien child” and, if so, the child must be
transferred to the custody of the Office of Refugee Resettlement within the Department of Health
and Human Services (HHS) within 72 hours, absent exceptional circumstances.9 The
determination that the child is an “unaccompanied alien child” entitles the child to special
protections, including placement in a suitable care facility, access to social services, removal
proceedings before an immigration judge under section 240 of the INA, rather than expedited
removal proceedings under section 235(b) of the INA, and initial adjudication of any asylum
claim by USCIS. '0

Approximately 60% of minors initially determined to be “unaccompanied alien children”
are placed in the care of one or more parents illegally residing in the United States. However, by
Department policy and practice, such minors maintained their status as “unaccompanied alien
children,” notwithstanding that they may no longer meet the statutory definition once they have
been placed by HHS in the custody of a parent in the United States who can care for the minor.
Exploitation of that policy led to abuses by many of the parents and legal guardians of those
minors and has contributed to significant administrative delays in adjudications by immigration

 

3 lCE Policy No. l 1002.11 Parole of Arriving Aliens Found to Have a Credible Fear of Persecution or Torture (Dec.
8, 2009).

" See 8 U.S.C. § 1232(b)(3).

m See generally 8 U.S.C. § 1232; INA § 208(b)(3)(C).

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courts and USCIS.

To ensure identification of abuses and the processing of unaccompanied alien children
consistent with the statutory framework and any applicable court order, the Director of USCIS,
the Commissioner of CBP, and the Director of ICE are directed to develop uniform written
guidance and training for all employees and contractors of those agencies regarding the proper
processing of unaccompanied alien children, the timely and fair adjudication of their claims for
relief from removal, and, if appropriate, their safe repatriation at the conclusion of removal
proceedings ln developing such guidance and training, they shall establish standardized review
procedures to confirm that alien children who are initially determined to be “unaccompanied alien
child[ren],” as defined in section 279(g)(2), Title 6, United States Code, continue to fall within the
statutory definition when being considered for the legal protections afforded to such children as
they go through the removal process.

M. Accountability Measures to Protect Alien Children from Exploitation and Prevent
Abuses of ()ur lmmigration Laws

Although the Department’s personnel must process unaccompanied alien children
pursuant to the requirements described above, we have an obligation to ensure that those who
conspire to violate our immigration laws do not do so with impunity_particularly in light of the
unique vulnerabilities of alien children who are smuggled or trafficked into the United States

The parents and family members of these children, who are often illegally present in the
United States, often pay smugglers several thousand dollars to bring their children into this
country. Tragically, many of these children fall victim to robbery, extortion, kidnapping, sexual
assault, and other crimes of violence by the smugglers and other criminal elements along the
dangerous journey through Mexico to the United States Regardless of the desires for family
reunification, or conditions in other countries, the smuggling or trafficking of alien children is
intolerable

Accordingly, the Director of ICE and the Commissioner of CBP shall ensure the proper
enforcement of our immigration laws against any individual who_directly or indirectly_
facilitates the illegal smuggling or trafficking of an alien child into the United States In
appropriate cases, taking into account the risk of harm to the child from the specific smuggling or
trafficking activity that the individual facilitated and other factors relevant to the individual’s
culpability and the child’s welfare, proper enforcement includes (but is not limited to) placing any
such individual who is a removable alien into removal proceedings or referring the individual for
criminal prosecution

N. Prioritizing Criminal Prosecutions for Irnmigration Of`f`enses Committed at the
Border

The surge of illegal immigration at the southern border has produced a significant increase
in organized criminal activity in the border region. Mexican drug cartels, Central American gangs,
and other violent transnational criminal organizations have established sophisticated criminal

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enterprises on both sides of the border. The large-scale movement of Central Americans,
Mexicans, and other foreign nationals into the border area has significantly strained federal
agencies and resources dedicated to border security. These criminal organizations have
monopolized the human trafficking, human smuggling, and drug trafficking trades in the border
region.

lt is in the national interest of the United States to prevent criminals and criminal
organizations from destabilizing border security through the proliferation of illicit transactions
and violence perpetrated by criminal organizations

To counter this substantial and ongoing threat to the security of the southern border_
including threats to our maritime border and the approaches_the Directors of the Joint Task
Forces-West, ~East, and -Investigations, as well as the ICE-led Border Enforcement Security Task
Forces (BESTS), are directed to plan and implement enhanced counternetwork operations directed
at disrupting transnational criminal organizations focused on those involved in human smuggling
The Department will support this work through the Office of lntelligence and Analysis, CBP’s
National Targeting Center, and the DHS Human Smuggling Cell.

In addition, the task forces should include participants from other federal, state, and local
agencies, and should target individuals and organizations whose criminal conduct undermines
border security or the integrity of the immigration system, including offenses related to alien
smuggling or trafficking, drug trafficking, illegal entry and reentry, visa fraud, identity theft,
unlawful possession or use of official documents, and acts of violence committed against persons
or property at or near the border.

ln order to support the efforts of the BESTs and counter network operations of the Joint
Task Forces, the Director of ICE shall increase of the number of special agents and analysts in the
Northern Triangle ICE Attaché Offices and increase the number ofvetted Transnational Criminal
Investigative Unit international partners This expansion of ICE’s international footprint will
focus both domestic and international efforts to dismantle transnational criminal organizations
that are facilitating and profiting from the smuggling routes to the United States

O. Public Reporting of Border Apprehensions Data

7 The Department has an obligation to perform its mission in a transparent and forthright
manner. The public is entitled to know, with a reasonable degree of detail, information pertaining
to the aliens unlawfully entering at our borders

Therefore, consistent with law, in an effort to promote transparency and renew confidence
in the Department’s border security mission, the Commissioner of CBP and the Director of ICE
shall develop a standardized method for public reporting of statistical data regarding aliens
apprehended at or near the border for violating the immigration law. The reporting method shall
include uniform terminology and shall utilize a format that is easily understandable by the public
in a medium that can be readily accessed.

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At a minimum, in addition to statistical information currently being publicly reported
regarding apprehended aliens, the following information must be included: the number of
convicted criminals and the nature of their offenses; the prevalence of gang members and prior
immigration violators; the custody status of aliens and, if released, the reason for release and
location of that release; and the number of aliens ordered removed and those aliens physically
removed

P. No Private Right of Action

This document provides only internal DHS policy guidance, which may be modified,
rescinded, or superseded at any time without notice. This guidance is not intended to, does not,
and may not be relied upon to create any right or benefit, substantive or procedural, enforceable at
law by any party in any administrative, civil, or criminal matter. Likewise, no limitations are
placed by this guidance on the otherwise lawful enforcement or litigation prerogatives of DI-IS.

In implementing this guidance, l direct DHS Components to consult with legal counsel to
ensure compliance with all applicable laws, including the Administrative Procedure Act.

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